Case 1:23-cr-O0056-JKB Document 77 Filed 03/01/24 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * Criminal No. JKB-23-0056
SARAH BETH CLENDANIEL, et al. *
Defendants *
KK
ORDER

This case is set in fora JURY TRIAL to begin on Monday, July 8, 2024, and concluding
on or about Friday, July 26, 2024. The Court notes the development of a scheduling issue that will
not permit the trial to proceed on July 16, 17, and 18. In light of this development, the Court
extends the schedule for this trial with it now set to end on or about Wednesday, July 31, 2024.
Counsel should consult their schedules and plan accordingly.

Dated this Za day of February, 2024.

BY THE COURT:

Vin Hh bales

Jarhes K. Bredar
Chief Judge

